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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
         Plaintiff,                              )     No. 4:19 CR 896 JAR JMB
v.                                               )
                                                 )      FILED UNDER SEAL
JOHN MORRIS,                                     )
                                                 )
         Defendant.                              )

                                   ORDER FOR DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of this

Court endorsed hereon, the United States of America, via the United States Attorney for the

Eastern District of Missouri, hereby dismisses the indictment filed against John Morris without

prejudice.


                                              Respectfully submitted,

                                              JEFFREY B. JENSEN
                                              United States Attorney

                                              /s/Gregory M. Goodwin
                                              GREGORY M. GOODWIN, #65929MO
                                              Special Assistant United States Attorney


Leave of Court is granted for the filing of the foregoing dismissal.


                                                      ___________________________________
                                                      UNITED STATES DISTRICT JUDGE


Dated: This _____ day of February, 2020.
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                                CERTIFICATE OF SERVICE

I hereby certify that on February 28, 2020, the foregoing was filed electronically with the Clerk of
the Court to be served by operation of the Court’s electronic filing system upon all counsel of
record.

                                             BY : Gregory M. Goodwin
                                             GREGORY M. GOODWIN, #65929MO
